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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF OKLAHOMA

KARL FONTENOT,                                  )
    Petitioner,                                 )
                                                )
v.                                              )       Case No. 16-CV-069-JHP-KEW
                                                )
SCOTT CROW, Interim Director,                   )
    Respondent.                                 )
                                                )



                            PROPOSED CONDITIONS OF RELEASE

          COMES NOW, Mr. Fontenot, the Petitioner, by and through undersigned counsel and

proposes conditions for release for the pendency of appeal. Counsel has been unable to get

opposing counsel’s opinion on proposed conditions. The conditions for release proposed by Mr.

Fontenot during the pendency of the Respondent’s appeal are:

     1) He will be released on his own recognizance.

     2) He will maintain residence in the State of Oklahoma.

     3) He will report in person upon release to the U.S. Probation Office for the Northern District

        of Oklahoma. He will report thereafter to the U.S. Probation Office as instructed by that

        office.

     4) He will not leave the State of Oklahoma without the prior approval of the U.S. Probation

        Office for the Northern District of Oklahoma.

     5) He will not use illegal drugs.

     6) He will not possess firearms or dangerous weapons.




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 7) He will participate in a program of mental health treatment, to include inpatient, with a

     treatment provider and on a schedule approved by the U.S. Probation Office in the

     Northern District of Oklahoma.

       The Court of Appeals for the Tenth Circuit held that Mr. Fontenot may seek bond while

the appeal is pending. This Court is charged with determining the conditions necessary to allow

for Mr. Fontenot’s release while the appeal continues. Pursuant to Federal Rule of Appellate

Procedure 23(c), “[w]hile a decision ordering the release of a prisoner is under review, the

prisoner must — unless the court or judge rendering the decision, or the court of appeals, or the

Supreme Court, or a judge or justice of either court orders otherwise — be released on personal

recognizance, with or without surety.” Mr. Fontenot is indigent, therefore, release on his own

recognizance is merited. The conditions set forth herein fairly alleviate any security concerns for

the Court and Respondent. Mr. Fontenot requests that this Court impose the conditions of

release requested and if there are concerns about those conditions, order a hearing to discuss

those issues.

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                                CERTIFICATE OF SERVICE


       I hereby certify that on November 13, 2019, I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the Eastern District of Oklahoma by

using the CM/ECF system. I certify that all participants in the case are registered CM/ECF users

and that service will be accomplished by the CM/ECF system.


                                             By: /S/ Robert Ridenour




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